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                    United States District Court
                                 CIVIL MINUTES - GENERAL


Time: 11:35 – 11:44 a.m.                                            Case # 1:17cv113-MW-GRJ

Date May 5, 2020


                           ZACHARY ZEDALIS v. SADIE DARNELL

DOCKET ENTRY: TELEPHONIC STATUS CONFERENCE held. Parties discuss trial
schedule. Ruling by Court: Trial removed from the docket, all pretrial deadlines cancelled.
Parties to confer and file a notice by 7/1/2020 regarding trial status. Order to follow.


PRESENT:     HONORABLE MARK E. WALKER, CHIEF U.S. DISTRICT JUDGE

                       Victoria Milton McGee                    Lisa Snyder _
                            Deputy Clerk                       Court Reporter



ATTORNEY(S) APPEARING FOR PLAINTIFF(S):
Marie Mattox


ATTORNEY(S) APPEARING FOR DEFENDANT(S):
Jack Gay, Wayne Evans
                                                           Initials of the Clerk: VMM
